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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

UNITED STATES OF AMERICA                       §
                                               §
v.                                             §          Crim. Action No. 3:03-CR-0078-N
                                               §
JASON DEJUAN LEATCH                            §

                                    MEMORANDUM

       This Memorandum addresses Defendant Leatch’s motion for sentence reduction

pursuant to Amendment 782 of the United States Sentencing Guidelines (“USSG”). In all

prior sentencing proceedings in the case, the Court reduced Defendant Leatch’s criminal

history category (“CHC”) from V to IV. Defendant Leatch is currently sentenced to 262

months, based on offense level 36 and CHC IV. The Probation Office reviewed Defendant

Leatch’s pro se motion and recommended an amended guideline range of 235-293 months

based on an offense level of 34 and CHC V. The United States has indicated that it does not

oppose an amended sentence of 235 months, which it opined is the lowest permissible

sentence under the amendment. The Court appointed the Federal Public Defender (“FPD”)

to represent Defendant Leatch, primarily to address whether the Court is prohibited under the

current Guidelines from lowering Defendant Leatch’s CHC from V to IV. The FPD’s

briefing has been most helpful to the Court.




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         The Court reluctantly joins the vast weight1 of authority holding that USSG § 1B1.10

prohibits the Court from reducing Defendant Leatch’s CHC in considering a motion for

sentence reduction under 18 U.S.C. § 3582(c)(2). See, e.g., United States v. Taylor, 815 F.3d

248 (6th Cir. 2016); United States v. Hogan, 722 F.3d 55, 62 (1st Cir. 2013) (collecting

cases); United States v. Montanez, 717 F.3d 287 (2d Cir. 2013); United States v. Valdez, 492

F. App’x 895 (10th Cir. 2012) (unpub.); United States v. Barr, 132 F. Supp. 3d 290 (D.R.I.

2015).

         The Fifth Circuit appears to have recently joined those other courts. United States v.

Contreras, — F.3d —, 2016 WL 1719928 (5th Cir. April 27, 2016). In Contreras, the

defendant originally received a one offense level reduction under USSG § 5K2.0 for waiving

his right to appeal.2 The Fifth Circuit held he was not entitled to a comparable departure on

a motion for reduction: “the court re-calculates the guideline range without re-applying

departures or variances, and it may then reduce the defendant’s sentence within that amended

guideline range.” Id. at *1. Although the Court was specifically considering a departure

under USSG § 5K2.0, its reasoning would apply with equal force to a departure under USSG

§ 4A1.3 (inadequacy of CHC).3



         1
        Perhaps even the total weight of authority, as the FPD apparently found no cases to
the contrary.
         2
       The Contreras decision did not address whether such a reduction was proper or
permissible.
         3
       The Court noted an exception, inapplicable here, where the departure was for
substantial assistance. Id. See USSG § 1B1.10(b)(2)(B)


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       This Court also joins with those other courts finding this to be a poor policy. See

Hogan, 722 F.3d at 63; Montanez, 717 F.3d at 294-95; Barr, 132 F. Supp. 3d at 295-97.

       The Court finds Defendant Leatch’s constitutional arguments unavailing. See Dillon

v. United States, 560 U.S. 817, 828 (2010) (Booker inapplicable to section 3582(c)(2)

proceedings); Mistretta v. United States, 488 U.S. 361 (1989) (sentencing guidelines do not

violate separation of powers doctrine). Moreover, the Court does not see how Defendant

Leatch is denied due process as he has had notice and an opportunity to be heard, or that the

amendment to USSG § 1B1.10(b)(2)(B) is an ex post facto violation, as he is receiving a

reduced sentence, albeit not reduced as much as he would prefer.

       The Court therefore grants Defendant Leatch’s motion for sentence reduction in part

and orders that his sentence be and is reduced to 235 months.



       Signed May 26, 2016.



                                                  _________________________________
                                                            David C. Godbey
                                                       United States District Judge




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